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                                                                                                June 9, 2025
VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101

      Re: Khalil v. Trump, et al. , No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz,

        Mr. Khalil submits this letter in response to the Court’s June 5, 2025 Text Order (ECF 282)
regarding the necessity of a hearing to resolve material factual disputes. No such hearing is required
on the current record before the Court.

          The Third Circuit has “long recognized that a preliminary injunction may issue without a
hearing, if the evidence submitted by both sides does not leave unresolved any relevant factual issue.”
Schrader v. Dist. Att'y of York Cnty., 74 F.4th 120, 126 (3d Cir. 2023) (cleaned up). In this case, although
the Court’s Order expressly invited Respondents to submit evidence “contest[ing] the accuracy or
reliability” of Petitioner’s factual submissions (ECF 281), they chose not to do so. Respondents have
failed to place any factual evidence before the Court and have therefore defaulted on their opportunity
to contest the accuracy, reliability, or credibility of Mr. Khalil’s evidence, see ECF 287, 288—meaning
there are no facts (let alone material ones) in dispute. Because there are no material, factual disputes
outstanding, the Court may issue a preliminary injunction on the basis of Petitioner’s “affidavits, and
other written evidence, without a hearing.” ADP, LLC v. Lynch, 678 F. App’x 77, 79 (3d Cir. 2017);
see also Elliott v. Kiesewetter, 98 F.3d 47 (3d Cir. 1996) (holding that district court’s issuance of an
injunction without holding a hearing was not an abuse of discretion; alleged factual issues were not
disputed in the record, or were otherwise not relevant to the Court’s order).

        Moreover, even if Respondents had raised a factual dispute, under Third Circuit precedent, a
court may still decide a PI motion on the written filings alone where, as here, “the adverse party has
waived its right to a hearing.” Pro. Plan Examiners of New Jersey, Inc. v. Lefante, 750 F.2d 282, 288 (3d Cir.
1984); ECF No. 287. This case therefore “fall[s] within both of the[]exceptions” to Federal Rule of
Civil Procedure 65’s “ordinary” “procedure.” Lefante, 750 F.3d at 288.

        The undisputed evidentiary record before this Court and Respondents’ hearing waiver
supports the grant of Mr. Khalil’s PI motion on the papers—including an order of release pending
adjudication of the habeas petition. However, if the Court finds that resolution of any material factual
dispute is necessary to grant a preliminary injunction, the Court should hold a hearing, in which Mr.
Khalil would participate and, to the extent it is required, make other witnesses available.
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                                            Respectfully submitted,

                                            /s/Liza Weisberg

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